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   United States District Court
   225 Cadman Plaza East,
   Brooklyn, New York 11201                                                                              3]

   Civil Case: No. 23-05261                                                                          f, !
                                                                                                     p Cj
                                                                                                     Kj ""I"!
                                                                                                     0,5 "7"|


  Dear Honorable Taryn A. Merkl,

  I would like to motion to intervene in civil case 23-05261.

  I am writing this with a great deal ofdisappointment, a great deal of dissatisfaction, and a great
  deal of concern pertaining to the matter at hand. These past few months have been those of
  confusion, manipulation, and outright hypocrisy. I am writing this to clear the air on these
  abrasions afflicting the union. Your Honor and the Honorable Court ofthe Eastern District of
  New York,these abrasions are the reasons as to why this union has gotten nowhere; not an inch
  towards a contract or confidence within this union. I am writing this Your Honor,to address
  various statements made in court(rather in court or motions submitted to the court)that involve
  me or have something to do with me.

  Response to Jeanne Mirer

 From what I am reading,I believe Jeanne Mirer has either taken me out ofcontext because she is
 pnyy to what is gomg on m this union and narrative that is being pushed, or she is deliberately
 n^g statenients that are fellicious which could be interpreted as her being hypocritical. I hone               \-

 she IS awwe ofher presumed errors and mistakes, because it is widely known amongst the
 inembership ofthe umon that she has never been a believer or supporter ofthe constitution of
 this umon as she is making it seem with her statements to the court.

 One when she speaks ofupholding the constitution ofthis union,it has never been her intention
 nor has she ever upheld the constitution ofthis union. There have been numerous occasions
 where esquire Jeanne Mirer support for the union's constitution was needed but it was nowhere
 to be found. The court,the media can ask any member ofthe union ifshe's a believer ofthe
 union constitution ofthe union or even a legal protector ofthe membership.I know this because
 once upon a tune her legal obligation was needed to intervene in matters that would have upheld
 the constitution ofthis union and safeguard the membership.
For exmple,when I attempted to utilize the due process procedure ofthe constitution ofthis
umon,die constitution ofthis union was violated. I did not hear not a word from Jeanne Mirer
^out this inolation ofthis constitution. This violation could set a dangerous precedent that it is
okay to violate the umon ofthis umon,and with Jeanne Mirer's career m lawyer she should
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  know better then to just stand by and let violations of structural documents to transpire,
  especially those that she claims to believe in. And the reason for her silence in the matter ofthe
  violation I am speaking ofis because she is a presumed fixer for Chritstian Smalls rather than a
  lawyer for the union. How did I come to this reasoning? The violation which I speak of occurred
  when I attempted to remove Christian Smalls from his post in the union for he has prolonged his
  time for any good he may do for the imion or the membership. I had filed charges with Claudia
  Ashterman^ against Christian Smalls to show his inept leadership abilities and why he needs to
  be removed from his post, which is part of her duty to file charges, she refused to file the
  charges. Ms. Ashterman acknowledged that she got my charges. My charges were even certified
  mailed to the union hall to make sure it was received.^ There were also emails exchanged
  conceming this matter, which Jeanne Mirer was included in;^ in other words she had knowledge
  as to what was happening. Jeanne Mirer did not intervene in this matter, she did not show her
  support ofthe constitution ofthis union. She was silent. Not only was she silent in this matter,
  she was most likely working with the side that was in violation ofthe constitution (Christian
  Smalls & Claudia Ashterman). And this lack of discernment coming from a lawyer is
  unacceptable.

  Further example of Jeanne Mirer's lack ofsupport for the constitution ofthis union was when
  Christian Smalls attempted to remove Michelle Valentin-Nieves from her role as vice president
  ofthe imion without utilizing the intemal remedies ofthe union and bringing her before the
  membership ofthe union to explain why she is no longer worthy of being the vice president, he
  didn't. Instead, he used a very shady method on attempting to remove. First, he had paid an
  "outside" law firm to get involved in the union's business and then accepted thejudgment of said
  "outside" law firm instead of bringing her before the membership and putting her on trial.'*
  Furthermore, he then changes the locks ofthe union hall, preventing Michelle from having entry
  into the union hall. Michelle, who is an officer ofthe union, has to be removed from her post by
  charges being brought against her and she's brought before the member for her trial and foimd
  guilty. This is the only way, as the constitution ofthe union lays out, to remove an officer ofthe
  union without said officer resigning(such as Derrick Palmer and Connor Spence)or losing their
  position due to an election. Jeanne Mirer knew that the method that Christian Smalls took in his
  attempted removal of Michelle from her position was not consistent with the rules and
  procedures laid out within the framework ofthe constitution ofthe union. What did Jeanne Mirer
  do or even say? She did and said nothing. And these moves being made by Christian Smalls were
  a clear violation ofthe union's constitution.


  Those are just several examples I can provide to show that Jeanne Mirer could care less about
  this union's constitution. So, with me reading Jeanne Mirer's recent filing with the court,I was a

  ^ Exhibit One(1)
  2 Exhibit Two(2)
  3 Exhibit Three(3)
  ^ Exhibit Four(4)
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  bit perplexed to see that she's sounding like a fervent believer and supporter ofthe union's
  constitution.


  To show another example of Jeanne Mirer's indifference towards the constitution ofthis union
  and the membership is recently. The agreement agreed upon in November had stated that there
  would be a referendum on what course the union should take. From the information that has been
  put out there, the membership had voted to have elections of the four executive officers.
  However,knowing that this is what the plurality ofthe membership wants, Jeanne Mirer is
  stating in court that the membership do not want elections, which is a misleading statement. The
  referendum has already happened,the results are out, the membership wants elections; one may
  disagree but THE MEMBERSHIP HAS SPOKEN!

  Response to Arthur Schwartz

  I don't necessarily disagree with what Arthur Schwartz is stating. From my point of view, when
  we speak on recent developments conceming the elections, he is stating the obvious. Jeanne
  Mirer is using the "Motion to Intervene" as a stalling tactic. Christian Smalls and his side had a
  chance to campaign on a"no" vote, but from my knowledge ofknowing Christian Smalls he
  probably did not campaign. So, it is not the Caucus' fault that they campaigned for a '*y®s" vote
  and the membership agreed with them. However,the apple doesn't fall too far from the tree.
  With the events that have occurred within the union since November of last year, it wouldn't
  surprise me ifthe Caucus was the lesser ofthe two evils. There were a bunch ofnefarious
  activities taking place; backhand deals were being made. My main concern with Arthur and the
  Caucus is ensuring that the elections are free and fair. What has been going on and what
  members ofthe Caucus have been sajdng, the elections essentially an unofficial anointment
  rather than members ofthe union competing with each other to see who has better policies for
  the membership. My fear is that the Caucus is attempting to have little to no one run against
  them. Furthermore, the Caucus is always making the argument that they want democracy within
  the union and that they are true believers ofa democratic union. And how is that democratic?
  Being democratic is adding more voices not attempting to reduce more voices; the more
  candidates there are the more democratic the election will be.


  Conclusion


  In conclusion, we are like a deer caught in a headlight. On one hand a majority of us believes
  that this union needs new leadership, however the situation at the warehouse is very dire and
  needs attending to; getting a contract. This is why I hope Your Honor that you take a very close
  look and keep a very close eye on what is happening because we are in a very decisive moment.
  This could be make or break for us.
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  Respectfully,
  Chermo Toure
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  Chermo Toure
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  North America,Earth
  The Solar System
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  chermotoure@gmail.com (personal)& chermotS).amazDnlaborunion.org (work, but disabled or hacked or whatever is going on)

  Phone: 256-749-4087


  Claudia Ashterman

  Recording Secretary

  900 South Avenue, Suite 100

  Staten Island, N.Y. 10314

  January 13th,2024

  Dear Ms. Ashterman,


 I, Chermo Toure am submitting superseding charges, as per Article 9, Section 10.2
 (FIRST SENTENCE),ofthe Amazon Labor Union's (also known as the"ALU"or "the
 Union")constitution against ALU's President Christian Smalls for conduct unbecoming
 of a member ofthe Union. Violating ALU's constitutional MEMBERSHIP PLEDGE and
  Article 3 ofthe Union's constitution on numerous occasions. Such as, but not limited to,
  violating Article 3:
  Section 3.2(a)
  Section 3.2(b)
  Section 3.2(c)
  Section 3.2(f)
  Section 3.2(g)


  Preliminary Statement:
      • The evidence will show that Christian Smalls, the President ofthe Amazon Labor Union,
        violated the constitution and the office ofthe presidency by not attending meetings.
      • The evidence will show that Christian Smalls, the President ofthe Amazon Labor Union,
        has failed to preserve order and enforce the constitution.
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        The evidence will show that Christian Smalls, the President ofthe Amazon Labor Union,
        has failed to partake in committees of the Union.
        The evidence will show that Christian Smalls, the President ofthe Amazon Labor Union,
        was not at ALL TIMES responsible to the Executive Board (either current or previous)
        ofthe operations ofthe Union.
        The evidence will show that Christian Smalls, the President ofthe Amazon Labor Union,
        to establish and/or partake in the day-to-day fimctions ofthe Union by establishing
        policies and procedures to that end.
        The evidence will show that Christian Smalls, the President ofthe Amazon Labor Union,
        is an absentee president.
        The evidence will show that Christian Smalls, the President ofthe Amazon Labor Union,
        knowingly made false statements and/or misled Union members.
        The evidence will show that Christian Smalls, the President ofthe Amazon Labor Union,
        does not fiilfill his duties as president faithfully.



  Respectfully submitted,

  Mr. Chermo Toure (Director of Grievance)
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